UNITED STATES DEPARTMENT OF THE TREASURY
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FINANCIAL CRIMES ENFORCEMENT NETWORK

July 13, 2018

Via Electronic Delivery

Shire Cryptocoin
shirecryptocoin@gmail.com, keenecrypto@gmail.com, shirebtemanch@googlegroups.com

Dear Shire Cryptocoin,

This letter is to inform you that the United States Department of Treasury, Financial Crimes
Enforcement Network (FinCEN) believes that your business is a money services business (MSB)
as defined by the Bank Secrecy Act (BSA). Asa result, you are required to register with
FinCEN as an MSB and comply with applicable anti-money laundering (AML) program,
recordkeeping, and reporting regulations.

FinCEN regulations define MSBs to include “money transmitters”; further delineating that a
money transmitter is a person who provides money transmission services or any other person
engaged in the transfer of funds. The term “money transmission services” means “the
acceptance of currency, funds, or other value that substitutes for currency from one person and
the transmission of currency, funds, or other value that substitutes for currency from one person
and the transmission of currency, funds, or other value that substitutes for currency to another
location or person by any means.”!

There is no minimum activity threshold for money transmitters under FinCEN’s regulation.
Consequently, engaging in money transmission in any amount qualifies your business as an
MSB.

On March 18, 2013, FinCEN published its guidance Application of FinCEN’s Regulations to
Persons Administering, Exchanging, or Using Virtual Currencies.” This guidance clarifies the
scope of FinCEN’s regulations with regard to certain virtual currency business models. In doing
so, it describes how most virtual currency administrators and exchangers engage in activities that
make them money transmitters - and thus MSBs.

As with other types of financial institutions, MSBs (including money transmitters), must comply
with the BSA. Under the BSA, MSBs must register with FinCEN within their first 180 days of
doing business and subsequently renew said registration every two years. The BSA also requires
financial institutions to make and keep certain reports which enable law enforcement to detect

131 CER § 1010.100(£8)(5)(i)(A).

? FIN-2013-G001, March 18, 2013, hitps:/Avww.fincen. gow/sites/default/files/shared/FIN-2013-G001 pdf.

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and deter financial crimes, like money laundering and terrorist financing. Failure to comply with
the BSA may result in civil and criminal penaities.

You must register your MSB with FinCEN through our online BSA E-Filing System, located at
http://bsaefiling. fincen.treas.zov/main.html. There is no cost to register.

If you believe that you do not qualify as an MSB, and are not operating under the definition of a
money transmitter under the BSA, please contact us within two weeks from the date of this
letter/email and state your explanation in writing at FRC@fincen.gov. Please provide updated
contact information so that you may be reached by a FinCEN representative to discuss your
submission.

FinCEN is attempting to bring all unregistered MSBs in this industry in compliance. If another
cryptocurrency kiosk operator fails to accept or receive receipt of this letter, they are not
absolved of their responsibilities as an MSB under the BSA. Should you wish to provide any
information on those believed to be in non-compliance, please email the address above.

If you have outstanding questions about your BSA requirements please contact the FinCEN
Resource Center (FRC) BSA Helpline at 703-905-3591 or toll free at 1-800-767-2825.
Additional resources may be found at: https://www-fincen,gov/resources, financial-
institutions/money-services-businesses.

Sincerely,
J sng
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Thomas P. Ott
Associate Director
Enforcement Division

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